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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    Case No. 16-cr-00746-1(PKC)
United States of America,
                                            Plaintiff,

           -against-

David Bergstein                              Defendant.
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                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                     9        I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   Brian R. Michael
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                       BM9076
My SDNY Bar Number is:_________________                         3897725
                                        My State Bar Number is ______________

I am,
           9✔          An attorney
           9           A Government Agency attorney
           9           A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:              FIRM         Wilmer Cutler Pickering Hale and Dorr LLP
                              NAME:_______________________________________________
                       FIRM            350 So. Grand Ave., Ste.2100, Los Angeles, CA 90071
                              ADDRESS:____________________________________________
                       FIRM   TELEPHONE NUMBER:________________________________
                                                     213-443-5374
                       FIRM                 213-443-5400
                              FAX NUMBER:________________________________________

NEW FIRM:              FIRM         King & Spalding LLP
                              NAME:_______________________________________________
                       FIRM            633 West Fifth St., Ste.1700, Los Angeles, CA 90071
                              ADDRESS:____________________________________________
                       FIRM                          213-443-4317
                              TELEPHONE NUMBER:________________________________
                       FIRM                 213-443-4310
                              FAX NUMBER:________________________________________


           9
           ✔           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: March 13, 2018                                      /s/ Brian R. Michael
                                                           ____________________________
                                                           ATTORNEY’S SIGNATURE
